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United States Bankruptcy Court
Northern District of Georgia

Inre Sonja Nicole Williams (Ross) Case No. 19-56304
Debtor(s) Chapter 7

AMENDED AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith: Summary of Assets and
Liabilities

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), | certify that notice of the filing of the amendment(s) listed above has been
given this date to any and all entities affected by the amendment as follows:

Neil C. Gordon Filed in U.S. Bankruptcy Court

Taylor English Duma LLP Northem District of Georgia

Suite 200 Vania S. Allen, Clerk

1600 Parkwood Circle SE b! SI
Atlanta, GA 30339 JAN 07 2025

404-640-5917 “pm

aford@taylorenglish.com

Adriano Omar Iqbal

Office of the United States Trustee

362 Richard B. Russell Federal Building
7§ Ted Turner Drive, SW

Atlanta, GA 30303

404-331-4488
adriano.o.iqbal@usdoj.gov

Date: January 7, 2025

Debtor, Pro Se

By: ( ; /
Depuff Clerk .

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Debtor 4 Sonja Nicole Williams (Ross)

First Name Middle Name Last Name
Debtor 2 _
{Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF GEORGIA

Case number 19-56304
(if known} {1 Check if this is an
amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

No ets:
Value ‘of what'you‘own

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B $ 865,700.00
1b. Copy line 62, Total personal property, from Schedule A/B. $ 78,129.46
1c. Copy line 63, Total of all property on Schedule A/B $ 940,829.46

Gene Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed In Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedute D... $ 746,729.74
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F..........s.sssseecennees $ 5,159.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..........sssssseeen $ 40,944.86

Your total liabilities | ¢ 792,833.60
Summarize Your Income and Expenses

4, Schedule |: Your Income (Official Form 1061)

Copy your combined monthly income from line 12 Of Sch@CUle L.....cscscssseccsssecsesssessseesesseesresisasesenseenretescernnere tenes $ 17,550.33
5, Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of Schedule J . $ 19,748.26

EERZSEE Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
C1 #No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

HB ves
7. What kind of debt do you have?

[2 Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

CO Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
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8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official Form

122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Desc Main

7,027.35

ee Total.clatm :

‘From Part4 on Schedule 'E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ §,159.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 2,400.91
9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through Of. $ 7,559.91
Official Form 106Sum Summary of Your Assets and Liabitities and Certain Statistical Information

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United States Bankruptcy Court
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Debtor(s) Chapter 7

DECLARATION CONCERNING DEBTOR'S AMENDED SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing Summary of Assets and Liabilities
, consisting of __3 _ page(s), and that they are true and correct to the best of my knowledge, information, and belief.

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.
